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                                                             November 26, 2019

    By ECF

    Hon. Christian F. Hummel
    U.S. Magistrate Judge
    U.S. District Court
    Northern District of New York
    James T. Foley U.S. Courthouse
    445 Broadway, Room 441
    Albany, NY 12207

                     Re:    NRA v. Cuomo, et al., No. 18 Civ. 0566 (TJM)(CFH)

    Dear Judge Hummel:

                   We represent defendant Maria T. Vullo and write in response to the NRA’s
    November 25, 2019 letter which seeks to defend its proposed motion to amend the complaint yet
    again. We join in the Attorney General’s argument that amendment is untimely and improper,
    given the NRA’s vague reasons to amend and its inability to justify why it waited until
    November to seek to amend based on information it states it received from Lloyd’s in June, and
    given the prejudice to Defendants from this untimely application.

                    Amendment is also improper because the NRA does not make any argument
    about how this purportedly newfound information implicates Ms. Vullo—who left DFS on
    February 1, 2019. Judge McAvoy’s decision on May 10, 2019 dismissed Plaintiff’s selective
    enforcement claim because, among other reasons, the Complaint “fails to provide a factual basis
    upon which to conclude that either Gov. Cuomo or Supt. Vullo were aware of the comparators’
    violations of the non-firearm-related Insurance Law provisions enforced against Lockton.” Dkt.
    112 at 9. If the NRA had a basis to allege personal knowledge it was obligated to amend
    promptly. It had no such basis and still, over five months later, it makes no factual showing
    about personal knowledge of any facts that could support a selective enforcement claim.

                    First, the Lloyd’s documents from June do not provide a “factual basis” to allege
    Ms. Vullo had relevant personal knowledge, and the NRA does not even attempt to claim
    otherwise. As the NRA is aware, DFS entered into a consent order with Lloyd’s with respect to
    its violations of the Insurance Law.
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                Second, the NRA’s claim that amendment as to Ms. Vullo is warranted based on
DFS’s purported conduct in November 2019 fails at the outset. Ms. Vullo had long left
government service at the time of the conduct the NRA now (belatedly) complains of. Anything
DFS did or did not do with another person at its helm cannot be attributed to Ms. Vullo. DFS’s
conduct in November 2019 cannot—as Judge McAvoy required—“plausibly support the
inference that [Ms. Vullo] knew of similar non-firearm-related Insurance Law violations by the
comparators but consciously declined to prosecute them.” Dkt. 112 at 9.

               Amendment to revive this moribund and baseless claim for damages against Ms.
Vullo in her individual capacity would further prejudice her. Amendment would lead to further
motion practice concerning discovery and delay the resolution of this litigation against Ms.
Vullo, which has continued many months after her departure from public service. The claims
against Ms. Vullo are baseless. She deserves resolution and finality.

               As the Attorney General noted, Defendants have not seen the NRA’s proposed
amended complaint. To the extent the NRA’s motion is not denied at the outset for being
untimely, Ms. Vullo seeks the opportunity to brief the futility of the proposed amendment in
light of Judge McAvoy’s prior dismissal.

              We thank the Court for its consideration.

                                                   Respectfully submitted,

                                                          /s/
                                                   Andrew G. Celli, Jr.
                                                   Debra L. Greenberger

c.     All Counsel of Record, By ECF
